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                 OFFICIAL NOTICE FROM COURT OF CRIMINAL APPEALS OF TEXAS ' lL,c *"*-" '
                     P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




  2/24/2017                      gg: XATA/, :KCOA Case No. 13-16-00270-CR
  ENGLE, KIRK ROSS            Tr^t?^No{j53ll -1:2^9                            PD-0191-17
  On this day, this Court has granted thej^Dj^ellant^s Pro Se motion for an extension
  of time in which to file the Petitioh^fg^iscfetionary Review. The time to file the
  petition has been extended to Monday^ May 15, 2017.                      NO FURTHER
  EXTENSIONS WILL BE ENTERTAINED.               NOTE: Petition For Discretionary
  Review must be filed with The Court of Criminal Appeals.
                                                                        Abel Acosta, Clerk

                               13TH COURT OF APPEALS CLERK
                               DORIAN RAMIREZ
                               901 LEOPARD
                               CORPUS CHRISTI.TX 78401
                               * DELIVERED VIA E-MAIL *
